Case 2:02-CV-02953-SHI\/|-STA Document 140 Filed 08/19/05 Page 1 of 2 Page|D 125

 

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IN THE UNITED sTATEs DISTRICT coURT `
FOR THE WESTERN DISTRICT oF TENNESSEE 05AUG!9 AH 6’5
WESTERN DIVISION ` 0
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THoMAs s BETWS CORP., NQQFBEH%H%

Plaintiff,
vs. No. 02-2953~MaAn

HOSEA PROJECT MOVERS, LLC

Defendant.

 

ORDER OF REFERENCE

 

Before the court is the August 12, 2005, motion of plaintiff
Thomas & Betts Corp. for protective order and to quash the
deposition to BDP International, Inc.

The motion is hereby referred to the magistrate judge for a
determination. Any exceptions to the magistrate's report shall
be made within ten (10) days of the report, setting forth
particularly those portions of the order excepted to and the
reasons for the exceptions.

It is so ORDERED this lswq`day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 140 in
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Honorable Samuel Mays
US DISTRICT COURT

